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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK



  UNITED STATES OF AMERICA                                            20 Cr. 412 (AT)

                  v.
  BRIAN KOLFAGE,
  STEPHEN BANNON,
  ANDREW BADOLATO, and
  TIMOTHY SHEA
                                            Defendants.



    DEFENDANT BRIAN KOLFAGE’S MOTION TO MODIFY POST-INDICTMENT
           RESTRAINING ORDER AND REQUEST FOR HEARING

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       COMES NOW Defendant Brian Kolfage (“Brian”), through Springer and Steinberg, P.C., and

moves that this Court modify the Post-indictment Restraining Order (Doc. #64) entered in this matter.

                                    STATEMENT OF FACTS1

                                            Background

       Brian is a disabled veteran. In December 2018, he started a “GoFundMe” campaign to raise $1

billion to build a border wall between the United States and Mexico. About one month later, with the

assistance of Stephen Bannon, Andrew Badolato, and Timothy Shea, he established We Build the Wall,

Inc. (“WBTW”), a Florida non-profit corporation organized under section 501(c)(4) of the Internal



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       This Statement of Facts is supported by Declaration of Brian Kolfage, which was filed
contemporaneously with this motion.
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Revenue Code. WBTW’s mission is to unite private citizens that share a common belief in providing

national security for our southern border through the construction, administration, and maintenance of

physical barriers inhibiting illegal entry into the United States of America. Approximately $25 million have

been raised, and stretches of border wall have already been constructed in Sunland Park, New Mexico

and Mission, Texas.

        In August 2020, a grand jury indicted Brian, Mr. Bannon, Mr. Badolato, and Mr. Shea. The

indictment charges them with Conspiracy to Commit Wire Fraud and Conspiracy to Commit Money

Laundering. It alleges that although various representations were made to potential donors on WBTW’s

website and in other settings that all the money donated would be used to build the border wall and that

Brian would not receive a salary, $350,000 of the $25 million in donated funds indirectly made its way to

him through entities operated by his codefendants. It further alleges that he used the money he received

to pay for home renovations, a boat, a luxury SUV, a golf cart, jewelry, cosmetic surgery, personal tax

payments, and credit card debt. WBTW changed its website in January 2020 to state that Brian would

receive a salary for the work he performed as an officer and director of WBTW.

                            WBTW’s Obligation to Fund Brian’s Defense

        Before Brian was indicted and before he or anyone associated with WBTW was aware that they

were under criminal investigation, WBTW obtained a directors’ and officers’ liability insurance policy

(“D&O Policy”) from Ironshore Specialty Insurance Company (“Ironshore”). The D&O Policy provides

coverage for WBTW’s directors and operators if they face criminal charges related to WBTW’s

management and operations. Brian is an insured under the D&O Policy, and Ironshore has agreed to pay

up to $1 million in the costs and attorney fees he has incurred and will incur in the future. But before

Ironshore will pay any benefits under the D&O Policy, WBTW must cover, and demonstrate to Ironshore

that it has covered, $125,000 in legal fees and costs incurred in the defense of this case (“insurance

retention payment”).

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        After he was arrested, Brian retained Harvey A. Steinberg and his law firm, Springer & Steinberg,

P.C. of Denver, Colorado, to represent him. Mr. Steinberg bills $750 an hour. It is plausible that Brian

will incur approximately $1 million in costs and attorney fees, and Mr. Steinberg and his firm typically

require defendants in Brian’s circumstances to deposit a substantial retainer before agreeing to represent

them. But relying on the D&O Policy, Mr. Steinberg did not require Brian to provide a retainer deposit.

        However, Ironshore has not paid anything for Brian’s defense. WBTW cannot make the

$125,000 insurance retention payment required under the D&O Policy, or any part of it, though Brian

has been promised and understands from WBTW that it would be the source of this required payment.

Any funds it would have used to make the payment are subject to the Court’s Post-indictment

Restraining Order.

                                              ARGUMENT

I. The Court should modify the Post-indictment Restraining Order.

        The Post-indictment Restraining Order is infringing on Brian’s Sixth-amendment right to counsel

of choice and should be modified. The Sixth Amendment of the United States Constitution guarantees

the right to the assistance of counsel in all criminal prosecutions. U.S. Const. amend. VI. This guarantee

includes “the right to be represented by an otherwise qualified attorney whom [a] defendant can afford to

hire, or who is willing to represent the defendant even though he is without funds.” Caplin & Drysdale,

Chartered v. U.S., 491 U.S. 617, 624 (1989). It also prohibits the government from interfering with

defendants’ ability to finance their defenses with legitimate funds in their possession or provided by third

parties. U.S. v. Stein, 541 F.3d 130, 155-56 (2nd Cir. 2008).

        In Stein, the government violated Stein’s right to counsel of choice. Stein worked at an accounting

firm and was charged criminally for actions he performed at the firm. The firm had a practice that it would

pay for its employees’ defenses if they were criminally charged based on work-related conduct. Conversely,

the government had a policy that authorized prosecutors to consider an employer’s payment of an

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employee’s attorney fees when determining whether to bring charges against the employer. Because of

this policy, the employer decided not to follow its practice and declined to pay for Stein’s defense. The

Second Circuit held the government, through its policy, violated Stein’s Sixth-amendment rights because

Stein had a reasonable expectation that the employer would pay for his defense and the employer would

have paid for his defense with legitimate funds. Stein, 541 F.3d at 155-56.

        Likewise, the government violated Brian’s Sixth-amendment rights by obtaining an overbroad, ex-

parte restraining order freezing WBTW’s assets. Brian has a reasonable expectation that WBTW will fund

his defense. And the restraining order is preventing WBTW from using legitimate funds to provide the

funding.

        But for the restraining order, WBTW would pay for Brian’s defense. It purchased the D&O Policy

to protect its directors and officers if they were charged criminally for worked performed for WBTW.

The policy requires WBTW to make an insurance retention payment of $125,000, and WBTW would have

known and expected to make that payment when it purchased the policy. As WBTW’s president, Brian

knew about the D&O Policy. He is an insured under it. And Ironshore has agreed to fund his defense

under the policy once WBTW makes the insurance retention payment. But WBTW cannot make the

payment because of the restraining order. Thus, Brian has a reasonable expectation that WBTW, through

the insurance retention payment and the D&O Policy, will fund his defense, but the government has

interfered with that expectation by obtaining the restraining order.

        The government’s interference with Brian’s expectation is improper as to any money WBTW

obtained after it announced in January 2020 that Brian would be compensated for his work. The pretrial

restraint of assets is impermissible unless there is probable cause that they are the proceeds of a crime. See

21 U.S.C. § 853; Luis v. U.S., 136 S. Ct. 1083, 1091 (U.S. 2016). Brian and his codefendants are charged

with conspiracy to commit wire fraud and conspiracy to commit money laundering. But the Indictment

lacks any allegations that Brian and his codefendants engaged in any conduct after January 2020 that would

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have generated forfeitable proceeds.

       The conduct underlying the conspiracy to commit wire fraud charge, and more particularly any

conspiratorial conduct that was capable of newly generated criminal proceeds, ended in January 2020. To

convict Brian of this charge, the government must prove Brian agreed with one or more people to commit

wire fraud, and one of them committed an overt act in furtherance of the conspiracy. See 18 U.S.C. § 1349.

This would require proof that they agreed to engage in “any scheme or artifice to defraud, or for obtaining

money or property by means of false or fraudulent pretenses, representations, or promises, [and to]

transmit[] or cause[] to be transmitted by means of wire, radio, or television communication in interstate

or foreign commerce, any writings, signs, signals, pictures, or sounds for the purpose of executing such

scheme or artifice”. See 18 U.S.C. § 1343. The indictment alleges Brian and his codefendants agreed to

obtain donations for WBTW under false pretenses. The only alleged false pretenses were that although

they planned on taking some of the money for themselves, they would tell potential donors that Brian

would not receive any compensation for his work with WBTW. But the indictment states that, in January

2020, WBTW’s website was changed to disclose that Brian would receive a salary. Thus, Brian and his

codefendants’ alleged agreement to act under false pretenses ended in January 2020, and any donations

obtained after WBTW changed its website to disclose Brian’s salary were not obtained fraudulently.

       Further, any donations obtained after WBTW changed its website are not the proceeds of

conspiracy to commit money laundering. To convict Brian of this charge, the government must prove

that he agreed with one or more people to conduct or attempt to conduct a financial transaction with

property that he knew represents the proceeds of some form of unlawful activity. 18 U.S.C. §§ 1956-1957.

Again, after WBTW stated that Brian would receive a salary, any donations received were not obtained

fraudulently. Because they were not obtained fraudulently, Brian could not know they were the proceeds

of unlawful activity. Thus, any alleged conspiracy to commit money laundering ended in January 2020.

       As explained, there is no probable cause that any donations received after January 2020 are the

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proceeds of criminal conduct. Any alleged agreement to obtain donations under false pretenses ended

when WBTW disclosed that Brian would receive a salary, and any donations received thereafter were

lawfully obtained. And because they were lawfully obtained, Brian and his codefendants could not

conspire to launder them.

        Therefore, the government improperly interfered with Brian’s right to counsel by obtaining an

overbroad restraining order. The restraining order restrains all WBTW’s assets. WBTW’s assets can only

be restrained if there is probable cause that they are the proceeds of criminal conduct. There is not

probable cause any donations received after January 2020 are the proceeds of criminal conduct. And to

the extent that it restrains lawfully obtained assets, the restraining order is overbroad, and the government

acted improperly by obtaining it.

II. Request for hearing

        At the very least, the government should be required to prove there is probable cause that

donations received after the corrective disclosures in January 2020 are nonetheless proceeds of the

charged conspiracies, and Brian respectfully requests that the Court hold an evidentiary hearing for this

purpose. Brian acknowledges that this Court and the Second Circuit have yet to opine on when an

evidentiary hearing is necessary to resolve a defendant’s claim that the government is violating his right

to counsel of choice by interfering with his reasonable expectation that his employer will pay for his

defense. The Second Circuit has apparently only addressed challenges to pre-indictment restraints of

funds that implicate a criminal defendant’s Sixth-amendment right to counsel of choice where the

defendant seeks to release his own funds. In such cases, clearly, the defendant must make some threshold

showing to be entitled to an evidentiary hearing. See U.S. v. Bonventre, 720 F.3d 126, 130 (2d Cir. 2013);

U.S. v. Monsanto, 924 F.2d 1186, 1203 (2d 1991). To be precise, when defendants seek to obtain their own

funds, defendants are entitled to evidentiary hearings if they “make a sufficient evidentiary showing that

there are no sufficient alternative, unrestrained assets to fund counsel of choice.” Bonventre, 720 F.3d at

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131. If they make this showing, they are entitled to a Monsanto adversarial, pre-trial evidentiary hearing

requiring the government to prove “there is probable cause to believe that the properties are properly

forfeitable.”2 Bonventre, 720 F.3d at 130; see also Kaley v. U.S., 571 U.S. 320, 340-41 (2014); U.S. v. Monsanto,

924 F.2d 1186, 1203 (2d 1991).

        But this Court should not require Brian to make the threshold showing under Bonventre because

he does not seek to obtain his own funds. Rather, he seeks under Stein an order allowing WBTW to make

the insurance retention payment necessary to receive benefits under the D&O policy. In Stein, there is no

indication that Stein was required to make a threshold showing that he lacked sufficient alternative,

unrestrained assets to fund counsel of choice. See Stein, 541 F.3d at 135-58; 435 F. Supp. 2d 330, 334-82

(S.D.N.Y. 2006). Instead, the government violated Stein’s right to counsel of choice by interfering with

his reasonable expectation that his employer would pay for his defense. This apparently is the only

showing Stein was required to make to receive a hearing. And as shown above, Brian has made a threshold

showing that the government violated his right to counsel of choice by obtaining an overbroad restraining

order. Thus, Brian is entitled to an evidentiary hearing requiring the government to prove that donations

received by WBTW after the January 2020 corrective disclosure have the sufficient nexus to the charged

criminal activity to be property that is “properly forfeitable.”

        However, if this Court determines that Brian must make the threshold showing under Bonventre,

he is prepared to submit an affidavit ex parte, in camera to show that he lacks sufficient alternative,

unrestrained assets to fund counsel of choice.




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 Prior to 2014, the government was required to prove both “(1) … there is probable cause to believe that
the defendant committed the crimes providing a basis for forfeiture; and (2) … there is probable cause to
believe that the properties are properly forfeitable.” See Bonventre, 720 F.3d at 130. But in Kaley v. U.S., the
Supreme Court held that defendants cannot challenge the grand jury’s probable cause finding in a Monsanto
hearing. 571 U.S. at 340-41. Thus, the only inquiry during a Monsanto hearing is whether there is probable
cause that the properties at issue are properly forfeitable.
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                                            CONCLUSION

        The Court should modify the Post-indictment Restraining Order. Brain has a Sixth-amendment

right to counsel of choice. This right prohibits the government from interfering with his ability to finance

his defense with legitimate funds from WBTW. He has a reasonable expectation that WBTW will fund

his defense, but the government is interfering with that expectation through an overbroad restraining

order. The restraining order restrains all WBTW’s assets, but assets it obtained after January 2020 were

lawfully obtained and cannot be restrained. Thus, the restraining order should be modified to restrain only

assets obtained before WBTW announced in January 2020 that Brian would receive a salary. Further,

Brian is entitled to an evidentiary hearing on this motion because he has made a threshold showing that

the government violated his Sixth-amendment right to counsel of choice by obtaining an overbroad

restraining order.

        WHEREFORE PREMISES CONSIDERED, Defendant Brian Kolfage respectfully requests

that this Court modify the Post-indictment Restraining Order entered in this matter so that it does not

apply to assets WBTW obtained after it announced in January 2020 that Brian would receive a salary. He

further requests that this Court hold an evidentiary hearing on his motion.

                Dated: February 2, 2021                  Respectfully Submitted

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